                   Case 2:10-cv-01322-RAJ Document 67 Filed 04/22/11 Page 1 of 2




 1                                                                                                     Honorable Richard A. Jones

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 6                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                                AT SEATTLE

 8   MIRINA CORPORATION, a Washington                                         )
     Corporation,                                                             )        Civil Action No. 2:10-cv-01322-RAJ
 9                                                                            )
                                  Plaintiff,                                  )        STIPULATION AND
10
                                                                              )        ORDER DISMISSING LAWSUIT WITH
11                    v.                                                      )        PREJUDICE
                                                                              )
12   MARINA BIOTECH, a Delaware                                               )
     Corporation,                                                             )
13                                                                            )
                                  Defendant.                                  )
14
                Plaintiff Mirina Corporation and Defendant Marina Biotech Inc. hereby stipulate and
15
     agree that all claims and counterclaims asserted in the above-entitled lawsuit between Plaintiff
16
     and Defendant be dismissed with prejudice. Each party shall bear its own costs and attorneys’
17
     fees.
18
     CONSENTED AND STIPULATED TO:
19
                                                                            SEED IP Law Group PLLC
20

21
     4/22/11                                                                /s/ Nathaniel E. Durrance
     Date                                                                   Kevin S. Costanza, Esq.
22                                                                          kevins@seedip.com
                                                                            Nathaniel E. Durrance, Esq.
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24                                                                          Seattle, Washington 98104-7092
                                                                            Telephone: (206) 622-4900
25
                                                                            Attorneys for Plaintiff
26                                                                          MIRINA CORPORATION

     STIPULATION AND ORDER
     DISMISSING LAWSUIT WITH PREJUDICE                                                         SEED INTELLECTUAL PROPERTY LAW GROUP PLLC
     (2:10-cv-01322-RAJ) ......................................................... 1                   701 FIFTH AVENUE, SUITE 6300
                                                                                                     SEATTLE, WASHINGTON 98104-7092
                                                                                                              (206) 622-4900
                   Case 2:10-cv-01322-RAJ Document 67 Filed 04/22/11 Page 2 of 2




 1                                                                          LANE POWELL

 2   4/22/11                                                                /s/ Brian G. Bodine
     Date                                                                   Brian G. Bodine, Esq.
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                                                                            Tiffany Scott, Esq.
 4
                                                                            scottt@lanepowell.com
 5                                                                          LANE POWELL PC
                                                                            1420 Fifth Avenue, Suite 4100
 6                                                                          Seattle, Washington 98101-2338

 7                                                                          Attorneys for Defendant
                                                                            MARINA BIOTECH INC.
 8

 9

10                                                                        ORDER

11              IT IS HEREBY ORDERED that all claims and counterclaims asserted in the above-
12   captioned lawsuit between Plaintiff and Defendant are dismissed with prejudice. Each party
13   shall bear its own costs and attorneys’ fees.
14              SO ORDERED this 22nd day of April, 2011.
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                                                                                       A
19                                                                                     The Honorable Richard A. Jones
                                                                                       United States District Judge
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     STIPULATION AND ORDER
     DISMISSING LAWSUIT WITH PREJUDICE                                                        SEED INTELLECTUAL PROPERTY LAW GROUP PLLC
     (2:10-cv-01322-RAJ) ......................................................... 2                  701 FIFTH AVENUE, SUITE 6300
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